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FORM 18. Joint Stipulation of Voluntary Dismissal                                             Form 18
                                                                                            March 2023


                      UNITED STATES COURT OF APPEALS
                         FOR THE FEDERAL CIRCUIT

                  JOINT STIPULATION OF VOLUNTARY DISMISSAL

             Case Number 2025-1722, 2025-1723 (consolidated)
      Short Case Caption Novartis Pharmaceuticals Corporation v. MSN Pharmaceuticals, Inc.


Instructions. Use this form only to file a joint stipulation of voluntary dismissal
pursuant to Fed. R. App. P. 42(b)(1). This form may not be used if a motion is required
pursuant to Fed. R. App. P. 42(b)(2)-(3). Below, please identify each case number to be
dismissed separately, including any consolidated case numbers.
Pursuant to Federal Rule of Appellate Procedure 42(b)(1), all parties hereby stipulate
to the voluntary dismissal of the below-noted case number(s):

Appeal Nos. 2025-1722 & 2025-1723




Costs are to be assigned as follows:
  ✔
          Each side shall bear their own costs.
          Other:




   Date: 06/10/2025                                               /s/ Deanne E. Maynard (w/permission)
                                                    Signature:
                                                    Name:         Deanne E. Maynard
                                                    Party Name: Novartis Pharmaceuticals Corp.



   Date: 06/10/2025                                 Signature:   /s/ Kevin E. Warner
                                                                 ______________________________
                                                    Name:       Kevin E. Warner
                                                                ______________________________
                                                    Party Name: MSN   Laboratories Private Ltd.
                                                                ______________________________
                                                                  MSN Life Sciences Private Ltd.
          Additional pages attached                               MSN Pharmaceuticals, Inc.
